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 3   Telephone: (559) 237-6000
 4   Attorney for Defendant, ISRAEL CAVAZOS
 5
 6                    IN THE UNITED STATES DISTRICT COURT FOR THE
 7                            EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,   )                  CASE NO. 1:07-CR-00192-AWI
                                 )
10        Plaintiff,             )
                                 )                  STIPULATION AND ORDER TO
11      v.                       )                  CONTINUE SENTENCING AND
                                 )                  RELATED DEADLINES
12   ISRAEL CAVAZOS,             )
                                 )
13         Defendant.            )
     ____________________________)
14
              The parties hereto, by and through their respective attorneys, stipulate and
15
     agree that the sentencing for defendant Israel Cavazos, presently calendared for
16
     April 18, 2011, be continued until May 2, 2011 at 9:00 a.m., in the courtroom of
17
     the Hon. Anthony W. Ishii, United States District Court Judge.
18
              The continuance is appropriate as the schedule of related deadlines, as
19
     presently set, would result in the draft PSR being available to defense counsel
20
     shortly after defense counsel leaves on a prepaid vacation.
21
              The continued sentencing date would result in the following revision of
22
     deadlines related to the rescheduled sentencing hearing:
23
                    Report Available to Defense Counsel:            03.28.2011
24
                    Objections Due to Probation & AUSA:             04.11.2011
25
                    Objections Filed With Court and Served
26                  on USPO and AUSA                                04.25.2011
27   ///
28   ///

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 1        The parties also agree that any delay resulting from this continuance shall
 2   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(A).
 3
 4   DATED: February 2, 2011            /s/ Kathleen Servatius      __
                                        KATHLEEN SERVATIUS
 5                                      Assistant United States Attorney
                                        This was agreed to by Kathy Servatius
 6                                      via email on February 2, 2011
 7
     DATED: February 2, 2011            /s/ Roger K. Litman    __
 8                                      ROGER K. LITMAN
                                        Attorney for Defendant
 9                                      ISRAEL CAVAZOS
10
11
                                         ORDER
12
     IT IS SO ORDERED.
13
14   Dated:   February 3, 2011
     0m8i78                                  CHIEF UNITED STATES DISTRICT JUDGE
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